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     John B. Quinn
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     Biography

     Described by the Los Angeles Daily Journal as a "legal titan", and by Chambers as a
     "known litigation genius", John B. Quinn is one of the most prominent business trial
     lawyers in the United States. As Chambers put it in their 2007 guide to U.S. lawyers and
     law firms: "'Tough guy' John Quinn is 'confident and quick' say clients. Opponents
     acknowledge his 'convincing courtroom demeanor' and one even named him 'literally the
     best I have ever faced in the past half dozen years.'" This sentiment echoed The
     American Lawyer's 2006 feature article, which described the Am Law 100 firm that Mr.
     Quinn built from scratch as "Better. Faster. Tougher. Scarier". ("The Mighty Quinn, John
     Quinn Is in Better Shape Than You Are. Now He Wants to Eat Your Lunch", The
     American Lawyer, 2006.) Or, as further summed up by his clients in Chambers—"there
     is no other".


     He has been named "One of the World's Leading Litigation Lawyers" by Euromoney
     Institutional Investor; "One of California's Leading Litigators" by Chambers; "One of the
     Top 3 Trial Lawyers of Choice by General Counsel in California" by California Law
     Business; one of the "Outstanding Trial Lawyers of America," by Chambers U.S.A., in
     2003 and 2004; "One of the Top 15 Litigators in California" by the Los Angeles Daily
     Journal ; "One of the Top 45 Lawyers Under the Age of 45 in the United States" by The




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     American Lawyer (when he was under 45); "One of the 100 Most Influential Lawyers in
     California" by California Law Business, 2000, 2001 (one of 9 business litigators so
     named); a “Litigation Star” by Benchmark Litigation; a First Tier “Leading Trial Lawyer” by
     The Legal 500 USA; and a "Super Lawyer" by Los Angeles Magazine. In 2003 he won
     the largest jury verdict awarded to individual plaintiffs (source: AP). In 2009, he was
     named "California Attorney of the Year" for "extraordinary achievements" in intellectual
     property law by The California Lawyer for his work on the highly publicized litigation for
     Mattel, Inc. over the "Bratz" line of dolls. In 2013, he was named one of "The 100 Most
     Influential Lawyers in America" by The National Law Journal and one of The American
     Lawyer's "Top 50 Most Innovative Lawyers" over the past half century. In 2015, he was
     named “Transatlantic Law Firm Leader of the Year” at The American Lawyer’s
     Transatlantic Legal Awards.


     Since 1987, Mr. Quinn has also been General Counsel of the Academy of Motion Picture
     Arts and Sciences, the organization that awards the Academy Awards.




     Notable Representations

      • Represented Samsung Electronics Company and its U.S. subsidiaries in the latest
         chapter of Cupertino based Apple Inc.’s “holy war” against the Android smartphone
         operating system. In the face of allegations that Samsung infringed five patents and
         owed Apple $2.2 billion in damages, Quinn Emanuel, led by Mr. Quinn, remained
         undaunted. During a trial held in Apple’s backyard (San Jose, California), the firm
         convinced the jury that two of Apple’s patents were not infringed and, more
         importantly, that Apple’s damages were less than 5.5% of the amount Apple sought.
         Mr. Quinn’s trial team further convinced the jury that Apple itself was an infringer,
         having used technology covered by one of Samsung’s counterclaim patents.
         Outnumbered but not outgunned, Mr. Quinn obtained this result against no fewer
         than three nationally recognized law firms that represented Apple throughout the
         case.
      • Represented two dozen hedge funds—including Elliott, Davidson-Kempner,
         Appalloosa, and Angelo Gordon—as plaintiff-holders of Yosemite and Enron Credit-
         Linked (ECLN) Notes in the Yosemite v. Citibank action in the Enron MDL. The
         noteholders asserted fraudulent transfer claims against Citibank and collectively




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         sought in excess of $1.4 billion on those claims. With Citibank's motion for summary
         judgment pending, Citibank and Enron agreed to a joint settlement and our clients
         received in excess of $2.1 billion in payments from the Enron bankruptcy estate.
      • In a widely covered decision, argued by Mr. Quinn in the Federal Circuit Court of
         Appeal, the Court vacated a preliminary injunction issued against Samsung in the
         Apple-Samsung smartphone wars, holding that Apple failed to show causal nexus
         between the infringing feature and the irreparable harm to support a preliminary
         injunction. The opinion clarified the legal standard for finding causal nexus between
         patent infringement and the irreparable harm required for an injunction. For products
         like modern smartphones, which contain hundreds or thousands of patented
         features, this decision makes it more difficult for any patent holder to justify an
         injunction based on alleged infringement of a single feature patent. The Court also
         held that, under the proper claim construction, the Galaxy Nexus likely does not
         infringe Apple’s ‘604 patent.
      • Defended a former director and majority shareholder of Peregrine Systems, Inc.
         against claims by putative classes of federal plaintiffs, two state-court lawsuits by
         groups of investors, and claims by the Peregrine Litigation Trust, which sought in
         excess of $2 billion from Peregrine's directors, officers, and others. (A dozen insiders
         pleaded guilty in connection with the facts underlying these claims.) Obtained
         complete dismissal, with prejudice in the largest case in this series of litigations. The
         action was pending for more than three years, and the plaintiffs' claim never
         progressed beyond the pleading stage.
      • Obtained a dismissal for Mattel with prejudice of a Sherman Act suit brought by a
         competitor seeking $3 billion.
      • Represented Dr. Enrico Bondi, Extraordinary Commissioner of Parmalat S.P.A., in
         three separate $10 billion lawsuits arising out of the largest bankruptcy in European
         history ("Europe's Enron")—against Grant Thornton, Bank of America, and Citigroup,
         for aiding and abetting Parmalat's insiders in the commission of massive fraud and
         for auditor malfeasance. Obtained a $150 million settlement from Deloitte & Touche.
      • Represented the University of Southern California in a retrial against the plaintiff's
         claim to lost profits following a remand from the Court of Appeal permitting the
         plaintiff to pursue such a claim. The plaintiff, a dental implant manufacturer, was
         seeking in excess of $1 billion in lost profits arising out of a failed clinical study. At
         trial, plaintiff was not awarded any lost profits. Mr. Quinn was lead counsel at trial.




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      • In the fall of 2012, obtained a favorable settlement for client in case involving right of
         publicity claims asserted by the members a rock group in connection with the
         inclusion of avatars based upon them that appeared in a videogame.
      • In February 2012, the California Court of Appeal, Second District, affirmed successful
         defense verdict after two week jury trial in favor of billionaire Donald Bren. Plaintiffs
         and Appellants Christie Bren and David Bren appealed over 15 evidentiary and
         discovery rulings by the trial judge, and also appealed the grant of summary
         judgment against their mother Jennifer Gold. The Court of Appeal affirmed on all
         grounds. The Court of Appeal's opinion brought to an end nearly nine years of
         litigation by Donald Bren's former girlfriend, Jennifer Gold, and his two biological
         children, David and Christie Bren. After three lawsuits, and a jury trial in August
         2010, the firm successfully defended all claims for fraud and breach of contract. Mr.
         Quinn was lead counsel at trial.
      • Obtained favorable settlement of objections filed by the Lehman Brothers Creditors’
         Committee and the Lehman Brothers Holdings Inc. estates to claims asserted by
         JPMorgan Chase Bank, N.A. in the bankruptcy cases pursuant to which
         approximately $700 million in funds were returned to the LBHI estate and $80 million
         in claims were re-characterized from secured to unsecured claims.
      • Represented Occidental Petroleum and won jury verdict establishing liability in
         insurance coverage case regarding business interruption losses sustained from over
         two hundred terrorist bombings of an oil pipeline in Colombia. Case settled for nine
         figures before the damages phase of the trial. Mr. Quinn was lead counsel at trial.
      • Represented Genentech when Columbia University demanded that Genentech
         license its “new” patent on co-transformation, a widely used recombinant DNA
         technique for producing protein in a host cell. Genentech sued the University for
         obviousness-type double patenting. With summary judgment motion looming, the
         University agreed to a broad covenant not to sue Genentech for past, current or
         future infringement of the “new” patent or any reissued patent with the same or
         similar claims.
      • Represented two German nationals, formerly employed by Bertelsmann, who moved
         to Santa Barbara and sued media giant Bertelsmann AG and its former CEO. While
         working for Bertelsmann, the former executives had been the driving force behind the
         creation and development of AOL Europe, a joint venture between Bertelsmann and
         AOL. When Bertelsmann sold its interest in AOL Europe for $6.75 billion, it refused
         to compensate plaintiffs. They asserted claims for breach of contract and breach of




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         partnership agreement, among others. Mr. Quinn obtained a $295 million verdict. It
         was the seventh largest jury verdict in the nation that year.
      • Represented General Motors in case against Volkswagen and GM’s former head of
         sourcing in Detroit for stealing secret GM documents. Working closely with inside
         lawyers from GM, he amassed devastating evidence and defeated all Volkswagen’s
         jurisdictional and substantive motions. On the eve of the Volkswagen chairman’s
         deposition, Mr. Quinn obtained a $1.1 billion settlement for General Motors.
      • Represented Avery Dennison Corporation and obtained an $80 million jury verdict in
         theft of trade secret case against Taiwanese competitor and its chairman. Mr. Quinn
         was lead counsel at trial.
      • Represented aerospace company in the retrial of a tortious interference suit brought
         against it in which the plaintiff had won $15 million in the previous trial and had
         rejected a $1 million settlement offer before the second trial. At retrial, Mr. Quinn was
         lead trial counsel and obtained a defense verdict.
      • Represented Crest Financial Limited, formerly the largest minority stockholder of
         Clearwire Corporation, a telecommunications company holding highly coveted
         broadband spectrum to prosecute its lawsuit to block Sprint Nextel Corporation’s
         effort to acquire Clearwire below fair market value. Mr. Quinn was chosen to
         personally lead the trial team. As a result of Clearwire’s suit challenging the offer,
         Sprint substantially raised its offer, thus mooting the suit.
      • Representing Nestle, one of the world’s leading nutrition, health, and wellness
         companies, in an antitrust case brought by Clemmy’s LLC, an ice cream company.
      • Lead counsel for Snapchat defending claims by a former Stanford student who seeks
         $1 billion claiming he was a co-founder of the company who was wrongfully excluded
         from the business.


     Practice Areas
      • Antitrust and Competition
      • Lender Liability and Other Banking and Financial Institution Litigation
      • Construction Litigation
      • Domestic U.S. Arbitration
      • Employment Litigation and Counseling
      • Energy Sector Disputes
      • Media and Entertainment Litigation




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      • Intellectual Property Litigation
      • International Arbitration
      • Israel Practice
      • Real Estate Litigation
      • Copyright Litigation
      • Patent Litigation
      • Trade Secret Litigation
      • Trademark, Trade Dress, Unfair Competition/False Advertising, and Publicity Rights
         Litigation


     Education
     Harvard Law School
     (J.D., cum laude, 1976)
       Knox Fellow, 1976-1977
       Harvard Law Review:
         Editor, 1974-1976



     Claremont Men's College
     (B.A., magna cum laude, 1973)



     Admissions
     The State Bar of California; The State Bar of New York


     Awards
      • Other Accomplishments:
         Finisher, Ironman Triathlon World Championship, Kailua Kona, Hawaii, 1999 & 2004


     Professional Activities
      • Fellow, International Academy of Trial Lawyers
      • Lecturer on Federal Practice, California Continuing Education of the Bar
      • Member, Union Internationale Des Avocats:
             Member, Commissions for Intellectual Property and Litigation




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      • Member, Million Dollar Advocates Forum
      • General Counsel, Academy of Motion Picture Arts and Sciences, 1987- present




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